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                        UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION




UNITED STATES OF AMERICA,

              Plaintiff,
                                                           File No. 1:07-CR-08
v.
                                                           HON. ROBERT HOLMES BELL
FERMIN PEDRO RAMOS-RAMOS,
a/k/a Pedro Ramos, and LAURIE
ANN RAMOS,

              Defendants.
                                              /

                       MEMORANDUM OPINION AND ORDER

       This matter comes before the Court on a motion to compel filed by Defendants Fermin

Pedro Ramos-Ramos and Laurie Ann Ramos. Defendants request an order compelling the

government to produce the alien file of the complainant, "Jane Doe."

       The government acknowledges that the Jane Doe identified in the indictment is

regarded as a "victim of a severe form of trafficking," that as such she is eligible for certain

benefits and services pursuant to 22 U.S.C. § 7105, and that she has in fact received certain

benefits as a result of her willingness to assist in the investigation and prosecution of human

trafficking. See 22 U.S.C. § 7105(b)(1). The government further acknowledges that

information regarding the benefits she has received constitutes exculpatory and/or

impeachment evidence under Brady v. Maryland , 373 U.S. 83 (1963), and Giglio v. United

States, 405 U.S. 150 (1972). The government has disclosed the general nature of the benefits
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Jane Doe has received and has advised that nothing else in the alien file can be construed as

Brady/Giglio material. The government opposes the disclosure of Jane Doe's complete alien

file because the file is not subject to discovery under F ED. R. C RIM. P. 16, and because the

file contains Jane Doe's personal information, disclosure of which could create a risk to the

safety of Jane Doe and her family.

       Defendants have not cited any basis for an order compelling disclosure of Jane Doe's

alien file other than Brady and Giglio. The Court has already ordered the government to turn

over Brady material in the Standing Order Regarding Discovery in Criminal Cases

(Administrative Order 06-085) incorporated into the Order Scheduling Progression of Case.

(Docket # 6). "[T]he government typically is the sole judge of what evidence in its

possession is subject to disclosure." United States v. Presser, 844 F.2d 1275, 1281 (6th Cir.

1988). "If it fails to comply adequately with a discovery order requiring it to disclose Brady

material, it acts at its own peril." Id. Because the government prosecutors are officers of the

court, this Court takes them at their word when they advise the Court that the alien file does

not contain additional material subject to compulsory disclosure under Brady. See United

States v. Carmichael, 232 F.3d 510, 517 (6th Cir. 2000). The Court also expects that the

government will err on the side of disclosure if it has any doubt about the exculpatory value

of any evidence. Schledwitz v. United States, 169 F.3d 1003, 1014 n.4 (6th Cir. 1999) (citing

Kyles v. Whitney, 514 U.S. 419, 439 (1995); United States v. Agurs, 427 U.S. 97, 108

(1976)).



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        In light of the Court's standing order regarding discovery and the government's

representation that it has complied with its Brady/Giglio disclosure obligations, the Court

observes no need for an order to compel. Accordingly,

        IT IS HEREBY ORDERED that Defendants' motion to compel (Docket # 53) is

DENIED.




Date:       May 31, 2007                  /s/ Robert Holmes Bell
                                          ROBERT HOLMES BELL
                                          CHIEF UNITED STATES DISTRICT JUDGE




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